        Case 4:04-cr-00070-DLH            Document 98      Filed 01/10/06     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,             )
                                      )
               Plaintiff,             )        ORDER FOR TEMPORARY RELEASE
                                      )        OF TERRY CLAUTHIER
       vs.                            )
                                      )
Terry Clauthier,                      )        Case No. 4:04-cr-070
                                      )
               Defendant.             )

       IT IS ORDERED that the defendant, Terry Clauthier, shall be temporarily released from

the Ward County Detention Center in Minot, North Dakota, to the custody of his mother (Betty

Clauthier) on Wednesday, January 11, 2006, at 2:00 P.M. (CST). The Defendant is being released

to attend his grandmother’s funeral in Dunseith, North Dakota. The Defendant shall reside with his

mother and with Ron and Edie Dubois in the Dunseith area the evening of January 11, 2006. The

Defendant must be returned by his mother to the Ward County Detention Center in Minot on or

before Thursday, January 12, 2006, at 6:00 P.M. (CST). The Defendant shall refrain from using any

alcohol or illegal substance while released from the correctional facility.

       Dated this 10th day of January, 2006.



                                                      ___________________________________
                                                      Daniel L. Hovland, Chief Judge
                                                      United States District Court
